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                                         August 23, 2023

VIA ECF
Honorable Ronnie Abrams
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom No. 1506
New York, New York 10007

       RE:     Clean Energy Experts v. Nick Benhammou and Daniel Yomtobian,
               Case No. 1:23-cv-01940-RA-Joint Letter pursuant to August 17, 2023 Order

Dear Honorable Judge Abrams,

        Please allow this correspondence to respond on behalf of counsel to all parties pursuant to
the Court’s August 17, 2023 Order requiring a new date for an initial status conference. The
parties have conferred and counsel agreed upon a new date of September 13, 2023 for the Initial
Status Conference in response to the above-mentioned Order. Such parties are available on that
day at any time convenient to the Court.

       We thank the Court and Your Honor for your attention and courtesies.



                                                     Sincerely,




                                                     Brendan T. Mahoney, Esq
